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    AO 245B     (Rev. 12/11) Judgment in a Criminal Petty Case                                                                 June 16,2015
                 Sheet 1

                                                                                                                                       TH
                                            UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                   UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                       v.                                         (For Offenses Committed On or After November 1, 1987)

                LUIS ARTURO ROJAS-MERCADO(4)                                      Case Number: 15CR1470-BLM
                                                                                  Thomas S. Sims
                                                                                  Defendant’s Attorney
    REGISTRATION NO. 77239051


    THE DEFENDANT:
        pleaded guilty to count(s) six(6) of the Information

         was found guilty on count(s)
         after a plea of not guilty.
         Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
    Title & Section                     Nature of Offense                                                                                 Number(s)
8 USC 1325                           Improper Entry by an Alien (Misdemeanor)                                                             6




             The defendant is sentenced as provided in pages 2 through                  2         of this judgment.

      The defendant has been found not guilty on count(s)
      Count(s)                                                                  is          are     dismissed on the motion of the United States.
      Assessment: $10.00 waived




      Fine waived                                        Forfeiture pursuant to order filed                                       , included herein.
            IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
      or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
      defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                     June 16, 2015
                                                                                     Date of Imposition of Sentence




                                                                                     HON. BARBARA L. MAJOR
                                                                                     UNITED STATES MAGISTRATE JUDGE

                                                                                                                                              15CR1470-BLM
          Case 3:15-cr-01470-BLM                            Document 42          Filed 06/17/15         PageID.100          Page 2 of 2
AO 245B      (Rev. 12/11) Judgment in Criminal Petty Case
             Sheet 2 — Imprisonment

                                                                                                          Judgment — Page    2    of      2
DEFENDANT: LUIS ARTURO ROJAS-MERCADO(4)
CASE NUMBER: 15CR1470-BLM
                                                                    IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          SIXTY(60) DAYS



          Sentence imposed pursuant to Title 8 USC Section 1326(b).
          The court makes the following recommendations to the Bureau of Prisons:




          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
                at                                           a.m.        p.m.    on                                          .
                as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                         RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                             to

at                                                          , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL

                                                                                By
                                                                                                   DEPUTY UNITED STATES MARSHAL




                                                                                                                                 15CR1470-BLM
